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UNITED STATES DISTRICT COURT ad

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, "°§ t - K 1
IN aA R R17 D006

Plaintiff,

INFORMATION
Vv. [18 U.S.C. § 1347: Health Care
Fraud; 18 U.S.C. §§ 982(a)(7),
JAMES CHEN, 981(a) (1) (C); 28 U.S.C.

§ 246l1(c): Forfeiture]
Defendant.

 

 

The Acting United States Attorney charges:
COUNT ONE
[18 U.S.C. § 1347]
Ll. GENERAL ALLEGATIONS
At all times relevant to this Information:
A. Defendant and Others

1. Defendant JAMES CHEN (“defendant CHEN”) resided in Los

Angeles County, California.

2. Clevis Management Inc., doing business as Haeoyou

Pharmacy (“HY”), was a corporation owned and controlled by
defendant CHEN, with its principal retail pharmacy business
located at 38656 Medical Center Drive, Palmdale, California, and

its headquarters located in the City of Commerce, both within

 

 

 
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the Central District of California. From its retail location,
HY filled prescriptions for medications, including those
compounded medications more fully described below. From its
headquarters location, and for the purpose of generating income
through submitting claims to TRICARE, as described below, and
insurance companies, HY coordinated the work of so-called
marketers to obtain prescriptions for medications and owned and
operated an Internet-based “telemedicine” site known as
“Healtharchy.com,” through which individuals could seek
prescriptions for medications without actually being examined by
a physician or other person authorized to prescribe medications.

3. Trestles RX LLC and Trestles Pain Management
Specialists LLC (collectively “Trestles RX”) were business
entities located at 25971 Pala, Suite 120, Mission Viejo,
California, in the Central District of California, and were
operated by Co-Schemer #1, Co-Schemer #2, Co-Schemer #3, Co-
Schemer #4, and others.

4. Co-Schemer #5 was the pharmacist-in-charge of HY’s
retail location in Palmdale, from which he supervised other
pharmacists and staff and directed them to fill, or otherwise
authorized the filling of, prescriptions, including
prescriptions for the compounded medications described below.

5. Co-Schemer #6 and Co-Schemer #7 were residents of the
State of Florida who negotiated, and received referral fees
pursuant to, an agreement between Trestles RX and HY.

B. TRICARE

6. TRICARE was a health care benefit program, as defined
by 18 U.S.C. § 24(b), that provided coverage for Department of

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Defense beneficiaries world-wide, including active duty service
members, National Guard and Reserve members, retirees, their
families, and survivors.

7. For the calendar year 2013, HY submitted approximately
zero claims to TRICARE for reimbursement for filling
prescriptions for compounded medications as described below.

For the calendar year 2014, HY submitted approximately 31 claims
to TRICARE, substantially all of which were submitted in the
month of December 2014, for reimbursement for filling
prescriptions for compounded medications, as described below,
for a total claimed amount of approximately $81,401. For the
period of approximately January 1 through May 31, 2015,
inclusive, HY submitted approximately 2,798 claims to TRICARE
for reimbursement for filling prescriptions for compounded
medications, as described below, for a total claimed amount of
approximately $62,654,938.

Cc Compounded Medications

 

8. In general, “compounding” is a practice by which a
licensed pharmacist, a licensed physician, or, in the case of an
outsourcing facility, a person under the supervision of a
licensed pharmacist, combines, mixes, or alters ingredients of a
drug or multiple drugs to create a drug or medication tailored
to the needs of an individual patient. Compounded medications
are not FDA-approved, that is, the FDA does not verify the
safety, potency, effectiveness, or manufacturing quality of
compounded medications. The California State Board of Pharmacy
regulates the practice of compounding in the State of

California.

 
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9. Compounded medications may be prescribed by a
physician when an FDA-approved drug does not meet the health
needs of a particular patient. For example, if a patient is
allergic to a specific ingredient in an FDA-approved medication,
such as a dye or a preservative, a compounded medication can be
prepared excluding the substance that triggers the allergic
reaction. Compounded medications may also be prescribed when a
patient cannot consume a medication by traditional means, such
as an elderly patient or a child who cannot swallow an FDA-
approved pill and needs the medication in a liquid form that is
not otherwise available.

Il. THE FRAUDULENT SCHEME

 

10. Beginning on or about a date unknown, and continuing
to in or about June 2015, in Los Angeles and Orange Counties,
within the Central District of California, and elsewhere,
defendant JAMES CHEN, Co-Schemer #1, Co-Schemer #2, Co-Schemer
#3, Co-Schemer #4, Co-Schemer #5, Co-Schemer #6, and Co-Schemer
#7, together with others known and unknown to the Acting United
States Attorney, knowingly, willfully, and with the intent to
defraud, executed and attempted to execute a scheme and
artifice: (1) to defraud TRICARE as to. material matters in
connection with the delivery of and payment for health care
benefits, items, and services; and (2) to obtain money from
TRICARE by means of material false and fraudulent pretenses and
representations and the concealment of material facts in
connection with the delivery of and payment for heaith care

benefits, items, and services.

 
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11. The fraudulent scheme operated, in substance, in the
following manner:

a. Defendant would own and control HY and would
cause HY to enter into agreements with Trestles RX, as
negotiated by Co-Schemer #6 and Co-Schemer #7, and others, and
would cause HY to hire in-house staff, to refer prescriptions
for compounded medications (“CM prescriptions”) to HY in
exchange for huge kickbacks that would be paid from

reimbursements from TRICARE.

b. Defendant CHEN would cause claims to be made to
TRICARE for reimbursements based on the CM prescription
referrals, knowing that the CM prescriptions were suspicious, if
not fraudulent, because, among other things:

(1) None of the CM prescriptions arose from a
bona fide physician-patient relationship as required by TRICARE
rules;

(2) Substantially all of the CM prescriptions
were electronically sent to HY from marketers, instead of from
the (purported) prescribing physicians or the patients, even
though a large number of the CM prescriptions contained a
facsimile header or similar information that falsely stated that
the sender was a “doctor’s office” or similar reference that
identified the sender as a health care provider;

(3) Substantially all of the CM prescriptions
were identified using an identical or nearly identical form with
pre-formulated compounds, unlike the typical prescription forms

that HY received and acted upon;

 
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(4) Substantially none of the patients for whom
CM prescriptions were provided, and for which HY filled and
submitted claims to TRICARE, ever paid, nor did HY attempt, or
intend to collect, any copayment, even though HY knew that it
was required to collect a copayment for each CM prescription
under TRICARE rules;

(5) HY mailed substantially all of the filled
CM prescriptions to the patients in numerous states where, as
was commonly the case, it was clear from the CM prescriptions
that the purported prescribing physicians were in different
states from the patients;

(6) HY conducted substantially no due diligence
upon receipt of the CM prescriptions to verify whether, in fact,
the patients actually sought the subject CM medications, even
though, shortly after HY entered into its agreement with
Trestles RX, defendant CHEN and his staff knew that HY had
called a random sample of CM patients, each of whom denied
seeking the CM prescriptions;

(7) The CM prescriptions were of questionable,
if any, medical value as all were for generic pain, scarring,
stretch marks, erectile dysfunction, or “metabolic general
wellness” (vitamins) ;

(8) The compounded formulations for each of the
purported maladies were virtually identical from patient-to-
patient and none of the CM prescriptions was specifically
formulated based on the individualized needs, medical history,

allergic reaction potential, contraindications, or conflicts

 
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with other prescription medications that were unique to the
particular patient;

(9) HY had filled substantially no similar
prescriptions in the two previous calendar years, except for
approximately 30 such prescriptions in December 2014 (that
resulted from HY’s negotiations with Trestles RX);

(10) HY intended to submit each of the CM
prescriptions to TRICARE for reimbursement because few, if any,
insurance carriers or entities would at the relevant time honor
claims for reimbursement for similar prescriptions; and

(11) The amounts that HY claimed to TRICARE for
reimbursement for each CM prescription were astronomical
compared to the previous or other claims that HY typically
submitted for reimbursement.

Til. EXECUTION OF THE FRAUDULENT SCHEME
12, On or about the dates set forth below, within the

Central District of California, and elsewhere, defendant CHEN,
together with others known and unknown to the Acting United
States Attorney, knowingly and willfully executed and attempted
to execute the fraudulent scheme described above, by submitting
and causing to be submitted to TRICARE, on behalf of HY, the
following false and fraudulent claims:

a. On or about March 3, 2015, a claim for filling a
CM prescription sent to HY by or through Trestles RX,
purportedly authorized by R.M., regarding beneficiary E.G., for
which TRICARE paid HY approximately $46,982;

b. On or about March 19, 2015, a claim for filling a
CM prescription, purportedly authorized by Dr. H.C., regarding

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beneficiary K.D., for which TRICARE subsequently paid HY
approximately $194,707; and

om On or about March 24, 2015, a claim for filling a
CM prescription, purportedly authorized by Dr. G.E., regarding
beneficiary M.R., sent to HY by HY in-house marketer Y.H., for

which TRICARE subsequently paid HY approximately $59,944.

 
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FORFEITURE ALLEGATION
[18 U.S.C. §§ 982(a) (7), 981 (a) (1) (C);
28 U.S.C. § 2461 (c)]

13. Pursuant to Federal Rule of Criminal Procedure
32.2(a), notice is hereby given to defendant JAMES CHEN that the
United States will seek forfeiture as part of any sentence in
accordance with Title 18, United States Code, Sections 982
(a) (7) and 981(a)(1)(C) and Title 28, United States Code,
Section 246l(c), in the event of the defendant’s conviction of
the offense set forth in Count One of this Information.

14. Defendant shall forfeit to the United States the
following property:

a. 2016 Lamborghini Huracan Vehicle Identification
Number (VIN) ZHWUC12ZF2FLA02145, registered to Clevis Management
Corporation or James Chen, 13181 Crossroads Parkway North, Suite
200, City of Industry, CA 91746, with a California license plate
of 7LIW395;

b. 2015 Lexus VIN JTHHP5BC1F5002031, registered to
Scott Ishikawa, 16338 Fast Badillo Street, Covina, CA 91722,
with a California license plate of 7LJP571;

Cc. 2012 Toyota VIN JTDKN3DU8C5403966, registered to
Scott Ishikawa, 16338 East Badillo Street, Covina, CA 91722,
with a California license plate of 7NNR032;

d. 2015 Toyota VIN JTDKN3DU8F0451615, registered to
Jonathan Lung or Sum Ka Yun Lse, 712 Padilla Street, Aprt 2, Sam

Gabriel, CA 91776 with a California license plate of 7LKFO005;

 
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e. 2015 Cadillac VIN 1GYS4TKJOFR639613, registered
to Clevis Management Corporation or James Chen, 13181 Crossroads
Parkway North, Suite 200, City of Industry, CA 91746, with a
California license plate of 7KKD152;

£. 2015 Lexus VIN JTJBARBZ6F2027199, registered to
Regina Ly, 3436 Twin Avenue, Rosemead, CA 91770, with a
California license plate of 7LVR832;

g. 2014 Lotus Evora VIN SCCLMDTUOCEHA10061,
registered to Clevis Management Corporation, 38656 Medical
Center Drive, Suite C, Palmdale, CA 93551, with a California
license plate of 7KYJ589;

h. all right, title, and interest in any and all
property, real or personal, that constitutes or is derived,
directly or indirectly, from the gross proceeds traceable to the
commission of the offense set forth in Count One of this
Information; and

i. a sum of money equal to the total value of the
property described in subparagraph h.

15. Pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section
2461(c), and Title 18, United States Code, Section 982(b), the
defendant shall forfeit substitute property, up to the total
value of the property described in the preceding paragraph if,
as a result of any act or omission of a defendant, the property
described in the preceding paragraph, or any portion thereof:

a. cannot be located upon the exercise of due

diligence;

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b. has been transferred, sold to or deposited with a

third party;

c. has been placed beyond the jurisdiction of the
Court ;

d. has been substantially diminished in value; or

e. has been commingled with other property that

cannot be divided without difficulty.

SANDRA R. BROWN
Acting United States Attorney

Soak Gann
Deputy Chie L Crime!) Do. VY) Sho

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

Far:

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Major Frauds Section

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